 Fill in this information to identify your case:

 Debtor 1
                     Diana Rae McKnight
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western                     District of __________
                                                 District of Washington
                                                                                                (State)
 Case number           18-44102
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 375,000.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 21,567.35
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 396,567.35
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 562,599.84
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 330,000.00
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 64,203.50
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 956,803.34
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 3,953.22
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 4,719.00
                                                                                                                                                                            ________________




Official Form 106Sum                                Summary of Your Assets and Liabilities and Certain Statistical Information                                                 page 1 of 2
                Case 18-44102-MJH                            Doc 9            Filed 12/18/18                   Ent. 12/18/18 14:27:50                            Pg. 1 of 53
                  Diana Rae McKnight                                                                                      18-44102
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                          3,489.43
                                                                                                                                          $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                   330,000.00
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                             330,000.00
                                                                                                            $_____________________




    Official Form 106Sum                      Summary of Your Assets and Liabilities and Certain Statistical Information                       page 2 of 2
                Case 18-44102-MJH                   Doc 9        Filed 12/18/18            Ent. 12/18/18 14:27:50                     Pg. 2 of 53
Fill in this information to identify your case and this filing:


Debtor 1
                    Diana Rae McKnight
                  __________________________________________________________________
                    First Name               Middle Name                  Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                  Last Name


                                        ______________________
United States Bankruptcy Court for the: Western District of Washington District of __________
                                                                                      (State)
Case number           18-44102
                    ___________________________________________
                                                                                                                                           Check if this is an
                                                                                                                                               amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                                12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                               What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                   
                                                                   ✔    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 19300    NE 6th Street
           _________________________________________                   Duplex or multi-unit building
                                                                                                                     Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                       Condominium or cooperative                   Current value of the Current value of the
                                                                       Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                       Land                                          750,000.00
                                                                                                                     $________________   375,000.00
                                                                                                                                       $_________________
                                                                       Investment property
             Camas                    WA 98607                                                                       Describe the nature of your ownership
             _________________________________________
             City                        State      ZIP Code
                                                                       Timeshare                                    interest (such as fee simple, tenancy by
                                                                       Other __________________________________     the entireties, or a life estate), if known.

                                                                   Who has an interest in the property? Check one.
                                                                                                                     Fee  simple
                                                                                                                     __________________________________________

            Clark County                                            Debtor 1 only                                    Check if this is community property
            _________________________________________
             County                                                 Debtor 2 only
                                                                    Debtor 1 and Debtor 2 only
                                                                   
                                                                   ✔ At least one of the debtors and another

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:
                                                            CMA Value




    If you own or have more than one, list here:                 What is the property? Check all that apply.         Do not deduct secured claims or exemptions. Put
                                                                      Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                     Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                      Duplex or multi-unit building
                                                                    Condominium or cooperative                      Current value of the     Current value of the
                                                                      Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                      Land                                          $________________        $_________________
                                                                      Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                      Timeshare                                     Describe the nature of your ownership
                                                                      Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                     the entireties, or a life estate), if known.
                                                                 Who has an interest in the property? Check one.
                                                                                                                     __________________________________________
                                                                  Debtor 1 only
             ________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                         Check if this is community property
                                                                  At least one of the debtors and another              (see instructions)

                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




                  Case 18-44102-MJH                        Doc 9     Filed 12/18/18               Ent. 12/18/18 14:27:50           Pg. 3 of 53page 1 of ___
                                                                                                                                                         10
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  375,000.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Hyundai
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Sonato
            Model: ____________________________                  
                                                                 ✔ Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2007                           Debtor 2 only
            Year:                 ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  70,500                                                                                  entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           2,731.00                  2,731.00
   Condition: Good                                                Check if this is community property (see               $________________         $________________
                                                                     instructions)



   If you own or have more than one, describe here:
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
    3.2.

            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                                                  Debtor 2 only
            Year:                     ____________                                                                        Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
            Approximate mileage: ____________                     At least one of the debtors and another
            Other information:
                                                                  Check if this is community property (see               $________________         $________________
                                                                     instructions)




                                                                                                                                                                   10
                                                                                                                                                              2 of __
                                                                                                                                                         page ___
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                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.    Make:
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      2,731.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                   3      10
                                                                                                                                                                                              page ___ of __
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Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             Major appliances, furniture, linens, china, kitchenware
    No
   
   ✔ Yes. Describe. ........


                                                                                                                                                                                                      1,500.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                      Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                             music collections; electronic devices including cell phones, cameras, media players, games
   
   ✔ Yes. Describe. ........                                                                                                                                                                          600.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                         0.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Clothing
   
   ✔    Yes. Describe. .........                                                                                                                                                                      800.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       Jewelry
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

   
   ✔    No
       Yes. Describe. .........                                                                                                                                                                      0.00
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        3,400.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


                                                                                                                                                                                                                    4      10
                                                                                                                                                                                                               page ___ of __
                  Case 18-44102-MJH                                     Doc 9               Filed 12/18/18                        Ent. 12/18/18 14:27:50                                     Pg. 6 of 53
Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

      No
   
   ✔   Yes .....................................................................................................................................................................   Cash: .......................      2.00
                                                                                                                                                                                                                    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Unitus Community Credit Union XXXX7963                                               229.88
                                                 ___________________________________________________________________________________ $__________________
                                                 Unitus Community Credit Union XXXX0921-01                                            632.50
   17.2. Checking account:                       ___________________________________________________________________________________ $__________________
                                                 Unitus Community Credit Union XXXX7963                                               94.94
   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        Unitus Community Credit Union XXXX0921-00
                                                 ___________________________________________________________________________________  229.50
                                                                                                                                     $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


                                                                                                                                                                                                                                         10
                                                                                                                                                                                                                                    5 of __
                                                                                                                                                                                                                               page ___
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
    No
   
   ✔ Yes. List each

         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              Unitus Community Credit Union (IRA)
                                   _________________________________________________________________________________________________   4,423.06
                                                                                                                                     $__________________
                                                                                                                                     $__________________
 Retirement account:               Washington State Retirement and Savings Plan (PERS 3)
                                   _________________________________________________________________________________________________       7,850.45
                                                                                                                                       $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               Unitus Community Credit Union (Roth IRA)
                                   _________________________________________________________________________________________________  105.02
                                                                                                                                     $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
                                                                                                                                                          10
                                                                                                                                                    6 of __
                                                                                                                                       $__________________
                                                                                                                                               page ___
                   Case 18-44102-MJH                            Doc 9         Filed 12/18/18   Ent. 12/18/18 14:27:50          Pg. 8 of 53
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

      No
                                                              Potential 2018 Tax Refund (Estimated)
   
   ✔   Yes. Give specific information                                                                                         Federal:               700.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
      No                                                      Earned but unpaid wages
   
   ✔   Yes. Give specific information. ...............
                                                                                                                                                          1,169.00
                                                                                                                                                        $______________________



                                                                                                                                                                       7     10
                                                                                                                                                                 page ___ of __
                 Case 18-44102-MJH                              Doc 9        Filed 12/18/18            Ent. 12/18/18 14:27:50                  Pg. 9 of 53
31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
   
   ✔    No
       Yes. Name the insurance company             Company name:                                                                                Beneficiary:                                        Surrender or refund value:
             of each policy and list its value. ...
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                             ____________________________                          $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
       No                                                           Age and Race Discrimination regarding Mortgage
   
   ✔    Yes. Describe each claim. .....................
                                                                                                                                                                                                      Unknown
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       15,436.35
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



                                                                                                                                                                                                                         10
                                                                                                                                                                                                                    8 of __
                                                                                                                                                                                                               page ___
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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________



                                                                                                                                                                                                                        10
                                                                                                                                                                                                                   9 of __
                                                                                                                                                                                                              page ___
                 Case 18-44102-MJH                                     Doc 9              Filed 12/18/18                         Ent. 12/18/18 14:27:50                                     Pg. 11 of 53
48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                375,000.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    2,731.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               3,400.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           15,436.35
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             21,567.35
                                                                                                                     $________________ Copy personal property total                                              21,567.35
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       396,567.35
                                                                                                                                                                                                               $_________________



                                                                                                                                                                                                                                  10
                                                                                                                                                                                                                            10 of __
                                                                                                                                                                                                                       page ___
                    Case 18-44102-MJH                                      Doc 9                Filed 12/18/18                          Ent. 12/18/18 14:27:50                                       Pg. 12 of 53
 Fill in this information to identify your case:

                     Diana Rae McKnight
 Debtor 1          __________________________________________________________________
                     First Name                 Middle Name               Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                 Middle Name               Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Washington District of __________
                                                                                       (State)
 Case number
  (If known)
                      18-44102
                     ___________________________________________                                                                                        Check if this is an
                                                                                                                                                              amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                   11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on          Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                  portion you own                           exemption you claim

                                                              Copy the value from                       Check only one box
                                                              Schedule A/B                              for each exemption
                 19300 NE 6th Street                                                                                                   6.13.030
 Brief
 description:
                                                                      375,000.00
                                                                     $________________              125,000.00
                                                                                                 ✔ $ ____________

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:        1.1
                 2007 Hyundai Sonato                                                                                                   6.15.010 (1)(c)(iii)
 Brief
 description:
                                                                       2,731.00
                                                                     $________________            $ ____________
                                                                                                  ✔  2,731.00
                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:          3.1
                 Household goods - Major appliances, furniture,                                                                        6.15.010 (1)(c)(i)
 Brief
 description:
                 linens, china, kitchenware                            1,500.00
                                                                     $________________              1,500.00
                                                                                                 ✔ $ ____________

                                                                                                   100% of fair market value, up to
 Line from                                                                                            any applicable statutory limit
 Schedule A/B:           6

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes



Official Form 106C                                            Schedule C: The Property You Claim as Exempt                                                                  3
                                                                                                                                                                  page 1 of __
               Case 18-44102-MJH                       Doc 9       Filed 12/18/18                Ent. 12/18/18 14:27:50                     Pg. 13 of 53
Debtor           Diana Rae McKnight
                _______________________________________________________                                                            18-44102
                                                                                                            Case number (if known)_____________________________________
                First Name      Middle Name            Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                                        Amount of the                        Specific laws that allow exemption
                                                                             Current value of the     exemption you claim
         on Schedule A/B that lists this property                            portion you own
                                                                            Copy the value from      Check only one box
                                                                             Schedule A/B             for each exemption
               Electronics - Televisions and radios; audio, video, stereo,                                                                  6.15.010 (1)(c)(i)
Brief        and digital equipment; computers, printers, scanners;
description: music collections; electronic devices including cell
                                                                              600.00
                                                                             $________________           600.00
                                                                                                      ✔ $ ____________
               phones, cameras, media players, games                                                   100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:         7
               Clothing - Clothing                                                                                                          6.15.010 (1)(a)
Brief
description:                                                                 $________________
                                                                              800.00                  
                                                                                                      ✔ $ ____________
                                                                                                          800.00
                                                                                                       100% of fair market value, up to
                                                                                                          any applicable statutory limit
Line from
Schedule A/B:         11
               Jewelry - Jewelry                                                                                                            6.15.010 (1)(a)
Brief
description:                                                                 $________________
                                                                              500.00                  
                                                                                                      ✔ $ ____________
                                                                                                          500.00
                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:        12
               Cash on Hand (Cash On Hand)                                                                                                  6.15.010(d)(ii)
Brief
description:
                                                                              2.00
                                                                             $________________           2.00
                                                                                                      ✔ $ ____________

                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:         16
               Unitus Community Credit Union XXXX7963 (Checking)                                                                            6.15.010(d)(ii)
Brief
description:
                                                                              229.88
                                                                             $________________           0.00
                                                                                                      ✔ $ ____________

                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:         17.1
               Unitus Community Credit Union XXXX0921-01                                                                                    6.15.010(d)(ii)
Brief
description:
               (Checking)                                                     632.50
                                                                             $________________           500.00
                                                                                                      ✔ $ ____________

                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:         17.2
               Unitus Community Credit Union XXXX7963 (Savings)                                                                             6.15.010(d)(ii)
Brief
description:
                                                                              94.94
                                                                             $________________           0.00
                                                                                                      ✔ $ ____________

                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:         17.3
               Unitus Community Credit Union XXXX0921-00 (Savings)                                                                          6.15.010(d)(ii)
Brief
description:
                                                                              229.50
                                                                             $________________           0.00
                                                                                                      ✔ $ ____________

                                                                                                       100% of fair market value, up to
                                                                                                          any applicable statutory limit
Line from
Schedule A/B:         17.4
               Unitus Community Credit Union (IRA)                                                                                          6.15.020
Brief
description:
                                                                              4,423.06
                                                                             $________________         $ ____________
                                                                                                      ✔   4,423.06
                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:        21
               Washington State Retirement and Savings Plan (PERS                                                                           41.40.052
Brief          3)                                                             7,850.45
description:                                                                 $________________         $ ____________
                                                                                                      ✔   7,850.45
                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:         21
               Unitus Community Credit Union (Roth IRA)                                                                                     6.15.020
Brief
description:
                                                                              105.02
                                                                             $________________           105.02
                                                                                                      ✔ $ ____________
                                                                                                       100% of fair market value, up to
                                                                                                          any applicable statutory limit
Line from
Schedule A/B:         21
               Potential 2018 Tax Refund (Estimated) (owed to debtor)                                                                       6.15.010(d)(ii)
Brief
description:
                                                                              700.00
                                                                             $________________           700.00
                                                                                                      ✔ $ ____________

                                                                                                       100% of fair market value, up to
Line from                                                                                                 any applicable statutory limit
Schedule A/B:           28


 Official Form 106C                                          Schedule C: The Property You Claim as Exempt                                                             2     3
                                                                                                                                                                 page ___ of __
               Case 18-44102-MJH                      Doc 9          Filed 12/18/18                 Ent. 12/18/18 14:27:50                    Pg. 14 of 53
Debtor           Diana Rae McKnight
                _______________________________________________________                                                 18-44102
                                                                                                 Case number (if known)_____________________________________
                First Name    Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                              Amount of the                       Specific laws that allow exemption
                                                                   Current value of the     exemption you claim
         on Schedule A/B that lists this property                  portion you own
                                                                  Copy the value from      Check only one box
                                                                   Schedule A/B             for each exemption
               Earned but unpaid wages (owed to debtor)                                                                          6.27.150
Brief
description:
                                                                     1,169.00
                                                                    $________________          876.75
                                                                                            ✔ $ ____________

                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:        30
             Age and Race Discrimination regarding Mortgage (owed                                                                6.15.010(d)(ii)
Brief
description:
             to debtor)                                           $________________
                                                                   Unknown                  
                                                                                            ✔ $ ____________
                                                                                                0.00
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:           33

Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
                                                                                               any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                        $________________        $ ____________
                                                                                             100% of fair market value, up to
Line from                                                                                      any applicable statutory limit
Schedule A/B:


 Official Form 106C                                       Schedule C: The Property You Claim as Exempt                                                  3     3
                                                                                                                                                   page ___ of __
               Case 18-44102-MJH                   Doc 9        Filed 12/18/18            Ent. 12/18/18 14:27:50                   Pg. 15 of 53
 Fill in this information to identify your case:

                    Diana Rae McKnight
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: Western District of Washington District of __________
                                                                                          (State)
 Case number         ___________________________________________
                      18-44102
 (If known)                                                                                                                                            Check if this is an
                                                                                                                                                          amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                          Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                        Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                     that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                  claim                 If any

2.1 Bank of America                                       Describe the property that secures the claim:                   $_________________
                                                                                                                            123,349.08       $________________
                                                                                                                                                750,000.00     $____________
                                                                                                                                                                 0.00
     ______________________________________               19300 NE 6th Street, Camas, WA 98607 - $750,000.00
     Creditor’s Name
                                                          CMA Value
      PO Box 982238
     ______________________________________
     Number            Street

     ______________________________________               As of the date you file, the claim is: Check all that apply.
      El Paso               TX 79998
     ______________________________________
                                                              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
      Debtor 1 only                                      Nature of lien. Check all that apply.
      Debtor 2 only
                                                          
                                                          ✔    An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
  
  ✔    At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                              Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
  Date debt was incurred ____________                     Last 4 digits of account number
2.2 Mr. Cooper                                            Describe the property that secures the claim:                   $_________________
                                                                                                                            439,250.76       $________________
                                                                                                                                                750,000.00     $____________
                                                                                                                                                                 0.00
     ______________________________________ 19300 NE 6th Street, Camas, WA 98607 - $750,000.00
     Creditor’s Name
                                            Trustee Sale # WA 08000128-16-1
     PO Box 619098
     ______________________________________ CMA Value
     Number            Street

     ______________________________________
                                                          As of the date you file, the claim is: Check all that apply.
      Dallas                TX
     ______________________________________
                                           75261              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
      Debtor 1 only                                      Nature of lien. Check all that apply.
      Debtor 2 only
                                                              An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
  
  ✔    At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                         Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
  Date debt was incurred ____________                     Last 4 digits of account number
     Add the dollar value of your entries in Column A on this page. Write that number here:                                 562,599.84
                                                                                                                          $_________________


   Official Form 106D            Schedule D: Creditors Who Have Claims Secured by Property
                                                                                                                                               Pg. 16 ofpage
                                                                                                                                                         53 1 of ___
                                                                                                                                                                        1
                 Case 18-44102-MJH   Doc 9 Filed 12/18/18 Ent. 12/18/18 14:27:50
Debtor 1
               Diana Rae McKnight
                _______________________________________________________                                                18-44102
                                                                                                Case number (if known)_____________________________________
               First Name    Middle Name        Last Name


  Pa rt 2 :     List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________                Last 4 digits of account number
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code


  Official Form 106D          Part 2 of Schedule D: Creditors Who Have Claims Secured by Property
              Case 18-44102-MJH     Doc 9 Filed 12/18/18 Ent. 12/18/18 14:27:50                                                Pg. 17 ofpage
                                                                                                                                         53 ___
                                                                                                                                             1 of ___
                                                                                                                                                  1
  Fill in this information to identify your case:

                           Diana Rae McKnight
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name             Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name             Last Name


      United States Bankruptcy Court for the: ______________________
                                              Western District of Washington District of __________
                                                                                            (State)
      Case number         ___________________________________________
                            18-44102
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                       Total claim    Priority     Nonpriority
                                                                                                                                                      amount       amount
            Internal Revenue Service
2.1                                                                                                                                 330,000.00 $___________
                                                                                                                                                 0.00        330,000.00
                                                                       Last 4 digits of account number                            $_____________            $____________
           ____________________________________________
           Priority Creditor’s Name
            Centralized Insolvency Ops                                 When was the debt incurred?          2004-2008
                                                                                                            ____________
           ____________________________________________
           Number            Street
           PO Box 21126
           ____________________________________________                As of the date you file, the claim is: Check all that apply.
           Philadelphia             PA      19114
           ____________________________________________                   Contingent
           City                                 State    ZIP Code
                                                                          Unliquidated
           Who incurred the debt? Check one.                           
                                                                       ✔   Disputed
                 Debtor 1 only                                        Type of PRIORITY unsecured claim:
                 Debtor 2 only                                           Domestic support obligations
                 Debtor 1 and Debtor 2 only                           
                                                                       ✔   Taxes and certain other debts you owe the government
           
           ✔      At least one of the debtors and another
                                                                          Claims for death or personal injury while you were
                 Check if this claim is for a community debt              intoxicated
                                                                          Other. Specify
           Is the claim subject to offset?
           ✔ No

                 Yes
             Social Security Administration Office of
2.2
             General Counsel                                           Last 4 digits of account number                                 0.00
                                                                                                                                      $_____________  0.00
                                                                                                                                                     $___________  0.00
                                                                                                                                                                  $____________
            ____________________________________________
            Priority Creditor’s Name                                   When was the debt incurred?          ____________
             Attn: Office of General Counsel
            ____________________________________________
            Number           Street                                    As of the date you file, the claim is: Check all that apply.
             6401 Security Blvd, Room 617
            ____________________________________________                  Contingent
             Baltimore               MD     21235
            ____________________________________________                  Unliquidated
            City                                State    ZIP Code
                                                                          Disputed
            Who incurred the debt? Check one.
           
           ✔       Debtor 1 only                                       Type of PRIORITY unsecured claim:
                  Debtor 2 only                                          Domestic support obligations
                  Debtor 1 and Debtor 2 only                          
                                                                       ✔   Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                          Claims for death or personal injury while you were
                  Check if this claim is for a community debt             intoxicated
                                                                          Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes

 Official FormCase
               106E/F18-44102-MJH                               Schedule
                                                               Doc  9 E/F:   Creditors
                                                                         Filed         Who HaveEnt.
                                                                                12/18/18        Unsecured Claims14:27:50
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                                                                                                                                                                   6
                      Diana Rae McKnight                                                                                      18-44102
 Debtor 1            _______________________________________________________                           Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

         Beneficial State Bank                                                                                                                               Total claim
4.1
                                                                                   Last 4 digits of account number       1731
        _____________________________________________________________                                                                                        22,063.00
                                                                                                                                                           $__________________
        Nonpriority Creditor’s Name
                                                                                   When was the debt incurred?           2000
                                                                                                                         ____________
         1438 Webster Street
        _____________________________________________________________
        Number            Street

        _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
        Oakland                             CA       94612
        _____________________________________________________________                 Contingent
        City                                             State          ZIP Code
                                                                                      Unliquidated
        Who incurred the debt? Check one.                                             Disputed
        
        ✔      Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only                                             Student loans
              At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
              Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts

        Is the claim subject to offset?
                                                                                   
                                                                                   ✔   Other. Specify Agriculture

        
        ✔      No
              Yes
4.2
         Beneficial State Bank                                                     Last 4 digits of account number       2591                               19,350.00
                                                                                                                                                           $__________________
        _____________________________________________________________              When was the debt incurred?           ____________
                                                                                                                         2001
        Nonpriority Creditor’s Name
         1438 Webster Stret
        _____________________________________________________________
        Number            Street
                                                                                   As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
         Oakland                                         CA
                                                     94612
                                                                                      Contingent
        _____________________________________________________________                 Unliquidated
        City                                             State          ZIP Code
        Who incurred the debt? Check one.                                             Disputed
        
        ✔      Debtor 1 only
                                                                                   Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                      Student loans
              Debtor 1 and Debtor 2 only
                                                                                      Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                 that you did not report as priority claims

              Check if this claim is for a community debt
                                                                                      Debts to pension or profit-sharing plans, and other similar debts
                                                                                   
                                                                                   ✔   Other. Specify Agriculture
        Is the claim subject to offset?
        
        ✔      No
              Yes
         Holger UHL
4.3
                                                                                   Last 4 digits of account number
        _____________________________________________________________                                                                                       11,073.50
                                                                                                                                                           $_________________
        Nonpriority Creditor’s Name                                                When was the debt incurred?           ____________
         C/O Shapiro & Sutherland
        _____________________________________________________________
        Number            Street
         1499 SE Tech Center Pl #255
        _______________________________________________________________________
                                                                                   As of the date you file, the claim is: Check all that apply.
        Vancouver                           WA       98683
        _____________________________________________________________                 Contingent
        City                                             State          ZIP Code
        Who incurred the debt? Check one.                                             Unliquidated

              Debtor 1 only
                                                                                      Disputed

              Debtor 2 only                                                       Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                             Student loans
        
        ✔      At least one of the debtors and another                                Obligations arising out of a separation agreement or divorce
                                                                                       that you did not report as priority claims
              Check if this claim is for a community debt                            Debts to pension or profit-sharing plans, and other similar debts

        Is the claim subject to offset?                                            
                                                                                   ✔   Other. Specify Attorney Fees

        ✔ No

              Yes


      Official Form 106E/F
                 Case   18-44102-MJH                        Schedule
                                                           Doc  9 E/F:   Creditors
                                                                     Filed         Who HaveEnt.
                                                                            12/18/18        Unsecured Claims14:27:50
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                                                                                                                                                                       2 of ___
                                                                                                                                                                            6
                      Diana Rae McKnight                                                                                       18-44102
 Debtor 1            _______________________________________________________                            Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.4     Jeff E Jarred
       _____________________________________________________________                Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                            6,771.00
                                                                                                                                                            $__________________
        830 Kirkland Way #203                                                       When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Kirkland                                         WA
       _____________________________________________________________
                                                                        98033
       City                                              State          ZIP Code       Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
              Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
       
       ✔       At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Precautionary
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Kohls/Capone                                                                Last 4 digits of account number       8260                               558.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                          2007
       Nonpriority Creditor’s Name
        N56 W 17000 Ridgewood Dr
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Menomonee Falls                     WI       53051                              Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Portfolio Recovery Associates                                               Last 4 digits of account number       8537
        _____________________________________________________________                                                                                        312.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           2014
                                                                                                                          ____________
        120 Corporate Blvd, Ste 1
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Norfolk                             VA       23502
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify Collection Agency
       
       ✔       No
              Yes


   Official Form 106E/F
              Case   18-44102-MJH                           Schedule
                                                           Doc  9 E/F:   Creditors
                                                                     Filed         Who HaveEnt.
                                                                            12/18/18        Unsecured Claims14:27:50
                                                                                                12/18/18                                   Pg. 20 of 53            page __
                                                                                                                                                                        3 of ___
                                                                                                                                                                             6
                      Diana Rae McKnight                                                                                       18-44102
 Debtor 1            _______________________________________________________                            Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                              Total claim
4.7     Portfolio Recovery Associates
       _____________________________________________________________                Last 4 digits of account number       6232
       Nonpriority Creditor’s Name                                                                                                                            1,518.00
                                                                                                                                                            $__________________
        120 Corporate Blvd, Ste 1                                                   When was the debt incurred?           2012
                                                                                                                          ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                    As of the date you file, the claim is: Check all that apply.
        Norfolk                                          VA
       _____________________________________________________________
                                                                        23502
       City                                              State          ZIP Code       Contingent
                                                                                       Unliquidated
       Who incurred the debt? Check one.
                                                                                       Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                       Student loans
              Debtor 1 and Debtor 2 only
                                                                                       Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                  that you did not report as priority claims

              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Collection Agency
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Portfolio Recovery Associates                                               Last 4 digits of account number       3171                               552.00
                                                                                                                                                            $__________________
       _____________________________________________________________                When was the debt incurred?           ____________
                                                                                                                          2012
       Nonpriority Creditor’s Name
        120 Corporate Blvd, Ste 1
       _____________________________________________________________
       Number              Street
                                                                                    As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Norfolk                             VA       23502                              Contingent
       _____________________________________________________________
       City                                              State          ZIP Code       Unliquidated
       Who incurred the debt? Check one.                                               Disputed
       
       ✔       Debtor 1 only
                                                                                    Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                       Student loans

              At least one of the debtors and another
                                                                                       Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                    
                                                                                    ✔   Other. Specify Collection Agency
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Portfolio Recovery Associates                                               Last 4 digits of account number       6167
        _____________________________________________________________                                                                                        878.00
                                                                                                                                                            $_________________
        Nonpriority Creditor’s Name                                                 When was the debt incurred?           2014
                                                                                                                          ____________
        120 Corporate Blvd, Ste 1
        _____________________________________________________________
        Number             Street
                                                                                    As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Norfolk                             VA       23502
        _____________________________________________________________                  Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                              Unliquidated

       
       ✔       Debtor 1 only
                                                                                       Disputed

              Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                              Student loans
              At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                        that you did not report as priority claims
              Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                              
                                                                                    ✔   Other. Specify Collection Agency
       
       ✔       No
              Yes


   Official Form 106E/F
              Case   18-44102-MJH                           Schedule
                                                           Doc  9 E/F:   Creditors
                                                                     Filed         Who HaveEnt.
                                                                            12/18/18        Unsecured Claims14:27:50
                                                                                                12/18/18                                   Pg. 21 of 53            page __
                                                                                                                                                                        4 of ___
                                                                                                                                                                             6
                    Diana Rae McKnight                                                                                       18-44102
Debtor 1           _______________________________________________________                             Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                            Total claim
4.10 Synchrony Bank/Tjx Cos                                                                                             8087
      _____________________________________________________________               Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                           1,128.00
                                                                                                                                                          $__________________
       PO Box 965015                                                              When was the debt incurred?           2009
                                                                                                                        ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                  As of the date you file, the claim is: Check all that apply.
      _____________________________________________________________
                                                                      32896
      City                                             State          ZIP Code       Contingent
                                                                                     Unliquidated
      Who incurred the debt? Check one.
                                                                                     Disputed
      
      ✔      Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                     Student loans
            Debtor 1 and Debtor 2 only
                                                                                     Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                  that you did not report as priority claims

            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                  
                                                                                  ✔   Other. Specify Credit Card Debt
      Is the claim subject to offset?
      
      ✔      No
            Yes

                                                                                  Last 4 digits of account number                                         $__________________
      _____________________________________________________________               When was the debt incurred?           ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number             Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
                                                                                     Contingent
      _____________________________________________________________
      City                                             State          ZIP Code       Unliquidated
      Who incurred the debt? Check one.                                              Disputed
            Debtor 1 only
                                                                                  Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                     Student loans

            At least one of the debtors and another
                                                                                     Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
                                                                                     Other. Specify
      Is the claim subject to offset?
            No
            Yes

                                                                                  Last 4 digits of account number
      _____________________________________________________________                                                                                       $_________________
      Nonpriority Creditor’s Name                                                 When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                  As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                  Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                              Unliquidated

            Debtor 1 only
                                                                                     Disputed

            Debtor 2 only                                                        Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                              Student loans
            At least one of the debtors and another                                 Obligations arising out of a separation agreement or divorce
                                                                                      that you did not report as priority claims
            Check if this claim is for a community debt                             Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                Other. Specify
            No
            Yes


  Official Form 106E/F
             Case   18-44102-MJH                          Schedule
                                                         Doc  9 E/F:   Creditors
                                                                   Filed         Who HaveEnt.
                                                                          12/18/18        Unsecured Claims14:27:50
                                                                                              12/18/18                                   Pg. 22 of 53            page __
                                                                                                                                                                      5 of ___
                                                                                                                                                                           6
               Diana Rae McKnight                                                                         18-44102
Debtor 1       _______________________________________________________                 Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                  Total claim


                6a. Domestic support obligations                          6a.                         0.00
Total claims                                                                      $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                            6b.                 330,000.00
                                                                                  $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                           6c.                         0.00
                                                                                  $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                               6d.
                                                                                + $_________________________
                                                                                                      0.00


                6e. Total. Add lines 6a through 6d.                       6e.
                                                                                              330,000.00
                                                                                  $_________________________



                                                                                  Total claim

                6f. Student loans                                         6f.                          0.00
Total claims                                                                       $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                6g.
                                                                                                       0.00
                                                                                   $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                         6h.                          0.00
                                                                                  $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                               6i.   + $_________________________
                                                                                                64,203.50


                6j. Total. Add lines 6f through 6i.                       6j.
                                                                                                 64,203.50
                                                                                   $_________________________




  Official Form 106E/F
             Case   18-44102-MJH                  Schedule
                                                 Doc  9 E/F:   Creditors
                                                           Filed         Who HaveEnt.
                                                                  12/18/18        Unsecured Claims14:27:50
                                                                                      12/18/18                       Pg. 23 of 53       page __
                                                                                                                                             6 of ___
                                                                                                                                                   6
 Fill in this information to identify your case:

                       Diana Rae McKnight
 Debtor               __________________________________________________________________
                       First Name             Middle Name              Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name              Last Name


 United States Bankruptcy Court for the:______________________
                                        Western District of Washington District of ________
                                                                                   (State)
 Case number            18-44102
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
      
      ✔    No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                               State what the contract or lease is for


2.1
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code



               Case 18-44102-MJHSchedule
Official Form 106G
                                   DocG:9 Executory
                                             Filed Contracts
                                                    12/18/18 and Unexpired Leases
                                                                  Ent. 12/18/18 14:27:50                                        Pg. 24 ofpage     1
                                                                                                                                          53 1 of ___
 Fill in this information to identify your case:

                     Diana Rae McKnight
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name                  Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:_______________________
                                         Western District of Washington District of ________
                                                                                               (State)
 Case number              18-44102
                        ____________________________________________
  (If known)
                                                                                                                                                  Check if this is an
                                                                                                                                                    amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                             12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
          No
      
      ✔    Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
      
      ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
                  No
           
           ✔                                                                WA
                   Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                    Steven Beresford
                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                    19300 NE 6th Street
                   ______________________________________________________________________
                   Number            Street

                    Camas                            WA                        98607
                   ______________________________________________________________________
                   City                                             State                        ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                                 Column 2: The creditor to whom you owe the debt

                                                                                                               Check all schedules that apply:
3.1       Steven Beresford
         ________________________________________________________________________________                         Schedule D, line ______
         Name
          19300 NE 6th Street                                                                                  
                                                                                                               ✔                      4.3
                                                                                                                   Schedule E/F, line ______
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
          Camas                                    WA                       98607
         ________________________________________________________________________________
         City                                                          State                        ZIP Code

3.2       Steven Beresford
         ________________________________________________________________________________                         Schedule D, line ______
         Name
         19300 NE 6th Street
         ________________________________________________________________________________
                                                                                                               
                                                                                                               ✔                      4.4
                                                                                                                   Schedule E/F, line ______
          Street                                                                                                  Schedule G, line ______
          Camas                                    WA                       98607
         ________________________________________________________________________________
         City                                                          State                        ZIP Code

3.3       Steven Beresford
         ________________________________________________________________________________                         Schedule D, line ______
         Name
          19300 NE 6th Street                                                                                  
                                                                                                               ✔                       2.1
                                                                                                                   Schedule E/F, line ______
         ________________________________________________________________________________
          Street                                                                                                  Schedule G, line ______
          Camas                                    WA                       98607
         ________________________________________________________________________________
         City                                                          State                        ZIP Code



Official FormCase
              106H             18-44102-MJH                  Doc 9              Schedule
                                                                               Filed     H: Your Codebtors
                                                                                     12/18/18       Ent. 12/18/18 14:27:50            Pg. 25 ofpage      2
                                                                                                                                                53 1 of ___
                 Diana Rae McKnight
Debtor 1        _______________________________________________________                   Case number (if known)_____________________________________
                First Name    Middle Name       Last Name




                Addit iona l Pa ge t o List M ore Code bt ors

      Column 1: Your codebtor                                                                  Column 2: The creditor to whom you owe the debt

                                                                                                Check all schedules that apply:
3._
  4
       Steven Beresford
       ________________________________________________________________________________         
                                                                                                ✔                    2.1
                                                                                                    Schedule D, line ______
       Name

       19300 NE 6th Street                                                                         Schedule E/F, line ______
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______
       Camas                                          WA                     98607
       ________________________________________________________________________________
       City                                          State                  ZIP Code

3._
  5    Steven Beresford
       ________________________________________________________________________________         
                                                                                                ✔                    2.2
                                                                                                    Schedule D, line ______
       Name

       19300 NE 6th Street                                                                         Schedule E/F, line ______
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______
       Camas                                          WA                     98607
       ________________________________________________________________________________
       City                                          State                  ZIP Code

3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                  ZIP Code

3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                  ZIP Code
3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                  ZIP Code

3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                  ZIP Code

3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street                                                                                      Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                  ZIP Code
3._
       ________________________________________________________________________________            Schedule D, line ______
       Name
                                                                                                   Schedule E/F, line ______
       ________________________________________________________________________________
       Street
                                                                                                   Schedule G, line ______

       ________________________________________________________________________________
       City                                          State                  ZIP Code




  Official Form 106H18-44102-MJH                             Schedule H: Your Codebtors                                                    2      2
             Case                              Doc 9          Filed 12/18/18       Ent.   12/18/18 14:27:50             Pg. 26 ofpage
                                                                                                                                  53 ___ of ___
 Fill in this information to identify your case:

                      Diana Rae McKnight
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name              Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name              Last Name


 United States Bankruptcy Court for the: ______________________     District
                                          Western District of Washington
                                                                                  tate)
 Case number            18-44102
                     ___________________________________________                                      Check if this is:
  (If known)
                                                                                                       An amended filing
                                                                                                       A supplement showing postpetition chapter 13
                                                                                                         income as of the following date:
                                                                                                         ________________
Official Form 106I                                                                                       MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                           Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                         ✔ Employed
    information about additional         Employment status                                                               Employed
    employers.                                                           Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.                                                  Employment Specialist
                                         Occupation                    __________________________________          __________________________________
    Occupation may include student
    or homemaker, if it applies.                                         WorkSource
                                         Employer’s name              __________________________________            __________________________________


                                         Employer’s address              PO Box 49046
                                                                      _______________________________________     ________________________________________
                                                                       Number Street                               Number    Street

                                                                      _______________________________________     ________________________________________

                                                                      _______________________________________     ________________________________________

                                                                         Olympia, WA 98504
                                                                      _______________________________________     ________________________________________
                                                                       City            State  ZIP Code              City                State ZIP Code

                                          How long employed there?________________________
                                                                   Since 10/2016                                    ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                                 For Debtor 1       For Debtor 2 or
                                                                                                                    non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.          2.       3,525.20
                                                                                                $___________           $____________

 3. Estimate and list monthly overtime pay.                                               3.   + $___________
                                                                                                         0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                          4.       3,525.20
                                                                                                $__________            $____________




Official Form 106I                                                Schedule I: Your Income                                                      page 1
               Case 18-44102-MJH                   Doc 9       Filed 12/18/18             Ent. 12/18/18 14:27:50              Pg. 27 of 53
Debtor 1
                 Diana  Rae McKnight
                 _______________________________________________________                                                                          18-44102
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.        3,525.20
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.          540.50
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.          350.50
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.           41.10
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                               52.58
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
                                     HSA, LTD                                                                           + $____________
     5h. Other deductions. Specify: __________________________________                                           5h.            79.30         +   $_____________
    _____________________________________________________________
                                                                                                                                 0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________
     Uniform Pre-Tax
    _____________________________________________________________                                                             102.00
                                                                                                                         $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.        1,165.98
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.        2,359.22
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________
                                         Roommate Contributionf                                                  8h.    + $____________
                                                                                                                             1,594.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.        1,594.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                            3,953.22
                                                                                                                         $___________     +       $_____________      =      3,953.22
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                             3,953.22
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


  Official Form 106I                                                               Schedule I: Your Income                                                                  page 2
              Case 18-44102-MJH                               Doc 9            Filed 12/18/18                    Ent. 12/18/18 14:27:50                Pg. 28 of 53
  Fill in this information to identify your case:

                     Diana Rae McKnight
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          Western District of Washington District of __________
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________                                                  expenses as of the following date:
                                                                                      (State)
                       18-44102                                                                                   ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                  2,944.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                        0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                        0.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   300.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                     50.00
                                                                                                                                      $_____________________

  Official Form 106J                                             Schedule J: Your Expenses                                                               page 1
                Case 18-44102-MJH                    Doc 9         Filed 12/18/18                 Ent. 12/18/18 14:27:50                 Pg. 29 of 53
                    Diana Rae McKnight                                                                                 18-44102
 Debtor 1          _______________________________________________________                     Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                          Your expenses

                                                                                                                         $_____________________
                                                                                                                                          0.00
 5. Additional mortgage payments for your residence, such as home equity loans                                    5.


 6. Utilities:

        6a.   Electricity, heat, natural gas                                                                      6a.    $_____________________
                                                                                                                                       100.00
        6b.   Water, sewer, garbage collection                                                                    6b.    $_____________________
                                                                                                                                        25.00
        6c.   Telephone, cell phone, Internet, satellite, and cable services                                      6c.    $_____________________
                                                                                                                                       200.00
        6d.   Other. Specify: _______________________________________________                                     6d.    $_____________________
                                                                                                                                          0.00
 7. Food and housekeeping supplies                                                                                7.     $_____________________
                                                                                                                                       150.00
 8. Childcare and children’s education costs                                                                      8.     $_____________________
                                                                                                                                          0.00
 9. Clothing, laundry, and dry cleaning                                                                           9.     $_____________________
                                                                                                                                        50.00
10.    Personal care products and services                                                                        10.    $_____________________
                                                                                                                                        50.00
11.    Medical and dental expenses                                                                                11.    $_____________________
                                                                                                                                       200.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                         $_____________________
                                                                                                                                       250.00
       Do not include car payments.                                                                               12.

13.     Entertainment, clubs, recreation, newspapers, magazines, and books                                        13.    $_____________________
                                                                                                                                       150.00
14.     Charitable contributions and religious donations                                                          14.    $_____________________
                                                                                                                                          0.00
                                                                                                                                                        1
15.     Insurance.
        Do not include insurance deducted from your pay or included in lines 4 or 20.

        15a. Life insurance                                                                                       15a.                    0.00
                                                                                                                         $_____________________
        15b. Health insurance                                                                                     15b.   $_____________________
                                                                                                                                          0.00
        15c. Vehicle insurance                                                                                    15c.   $_____________________
                                                                                                                                       100.00
        15d. Other insurance. Specify:_______________________________________                                     15d.   $_____________________
                                                                                                                                          0.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
        Specify: ________________________________________________________                                         16.
                                                                                                                                         0.00
                                                                                                                         $_____________________

17.    Installment or lease payments:

        17a. Car payments for Vehicle 1                                                                           17a.   $_____________________
                                                                                                                                          0.00
        17b. Car payments for Vehicle 2                                                                           17b.   $_____________________
                                                                                                                                          0.00
        17c. Other. Specify:_______________________________________________                                       17c.   $_____________________
                                                                                                                                          0.00
        17d. Other. Specify:_______________________________________________                                       17d.                    0.00
                                                                                                                         $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                           18.                    0.00
                                                                                                                         $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                             19.
                                                                                                                                          0.00
                                                                                                                         $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

        20a. Mortgages on other property                                                                          20a.   $_____________________
                                                                                                                                          0.00
        20b. Real estate taxes                                                                                    20b.   $_____________________
                                                                                                                                          0.00
        20c. Property, homeowner’s, or renter’s insurance                                                         20c.   $_____________________
                                                                                                                                          0.00
        20d. Maintenance, repair, and upkeep expenses                                                             20d.   $_____________________
                                                                                                                                          0.00
        20e. Homeowner’s association or condominium dues                                                          20e.   $_____________________
                                                                                                                                          0.00


      Official Form 106J                                         Schedule J: Your Expenses                                                     page 2
                Case 18-44102-MJH                   Doc 9         Filed 12/18/18          Ent. 12/18/18 14:27:50            Pg. 30 of 53
                   Diana Rae McKnight                                                                                   18-44102
Debtor 1          _______________________________________________________                       Case number (if known)_____________________________________
                  First Name    Middle Name        Last Name




21.     Other. Specify:______________________________________________________________________
                        Miscellaneous
                                                                                                                                        150.00
                                                                                                                   21.   +$_____________________
______________________________________________________________________________________                                   +$_____________________
______________________________________________________________________________________                                   +$_____________________
22.     Calculate your monthly expenses.

        22a. Add lines 4 through 21.                                                                             22a.                 4,719.00
                                                                                                                          $_____________________

        22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

        and 22b. The result is your monthly expenses.                                                            22c.                 4,719.00
                                                                                                                          $_____________________


23. Calculate your monthly net income.
                                                                                                                                       3,953.22
                                                                                                                           $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                         23a.

      23b.   Copy your monthly expenses from line 22c above.                                                      23b.                 4,719.00
                                                                                                                         – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                                   -765.78
                                                                                                                           $_____________________
             The result is your monthly net income.                                                               23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

       For example, do you expect to finish paying for your car loan within the year or do you expect your
       mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.      Explain here:




      Official Form 106J                                       Schedule J: Your Expenses                                                        page 3
                 Case 18-44102-MJH                Doc 9         Filed 12/18/18          Ent. 12/18/18 14:27:50               Pg. 31 of 53
Fill in this information to identify your case:

Debtor 1           Diana Rae McKnight
                  __________________________________________________________________
                    First Name              Middle Name             Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name              Middle Name             Last Name


                                        ______________________
United States Bankruptcy Court for the:Western                      District of __________
                                               District of Washington
                                                                                (State)
Case number         18-44102
                    ___________________________________________
(If known)
                                                                                                                                          Check if this is an
                                                                                                                                             amended filing


  Official Form 106Dec
  De cla rat ion About a n I ndividua l De bt or’s Sche dule s                                                                                        12/15

  If two married people are filing together, both are equally responsible for supplying correct information.

  You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
  obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
  years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                    Sign Be low



       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

       
       ✔     No
            Yes. Name of person__________________________________________________. Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
                                                                                               Signature (Official Form 119).




       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.




     /s/ Diana Rae McKnight
          ______________________________________________           _____________________________
         Signature of Debtor 1                                         Signature of Debtor 2


              12/18/2018
         Date _________________                                        Date _________________
                MM /    DD       /   YYYY                                       MM / DD /   YYYY




  Official Form 106Dec                                       Declaration About an Individual Debtor’s Schedules

                  Case 18-44102-MJH                       Doc 9   Filed 12/18/18               Ent. 12/18/18 14:27:50            Pg. 32 of 53
 Fill in this information to identify your case:

 Debtor 1          Diana Rae McKnight
                   __________________________________________________________________
                     First Name              Middle Name                 Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                 Last Name


 United States Bankruptcy Court for the: Western
                                         ______________________      District of ______________
                                                 District of Washington
                                                                               (State)
 Case number         ___________________________________________
                       18-44102
  (If known)                                                                                                                               Check if this is an
                                                                                                                                             amended filing




Official Form 107
St a t e m e nt of Fina nc ia l Affa irs for I ndividua ls Filing for Ba nk rupt c y                                                                            4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.


 Pa rt 1 :       Give De t a ils About Y our M a rit a l St a t us a nd Whe re Y ou Live d Be fore


 1. What is your current marital status?


       Married
      
      ✔ Not married



 2. During the last 3 years, have you lived anywhere other than where you live now?

     
     ✔     No
          Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

               Debtor 1:                                          Dates Debtor 1         Debtor 2:                                             Dates Debtor 2
                                                                  lived there                                                                  lived there

                                                                                          Same as Debtor 1                                      Same as Debtor 1

               __________________________________________         From     ________         ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       __________                                                             To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State ZIP Code


                                                                                          Same as Debtor 1                                      Same as Debtor 1


               __________________________________________         From     ________         ___________________________________________           From ________
                Number    Street                                                            Number Street
                                                                  To       ________                                                               To      ________
               __________________________________________                                   ___________________________________________

               __________________________________________                                   ___________________________________________
               City                     State ZIP Code                                      City                     State   ZIP Code


 3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property states
     and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No
     
     ✔     Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).




 Official Form 107                            Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 1


                Case 18-44102-MJH                   Doc 9        Filed 12/18/18               Ent. 12/18/18 14:27:50            Pg. 33 of 53
Debtor 1        Diana Rae McKnight
                _______________________________________________________                                                             18-44102
                                                                                                             Case number (if known)_____________________________________
                First Name      Middle Name             Last Name


  Pa rt 2 : Ex pla in t he Sourc e s of Y our I nc om e

 4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
     Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
     If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

          No
     
     ✔     Yes. Fill in the details.

                                                                Debtor 1                                              Debtor 2

                                                                Sources of income            Gross income             Sources of income           Gross income
                                                                Check all that apply.        (before deductions and   Check all that apply.       (before deductions and
                                                                                             exclusions)                                          exclusions)


            From January 1 of current year until
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              33,954.23                   bonuses, tips           $________________
            the date you filed for bankruptcy:
                                                                   Operating a business                                 Operating a business


            For last calendar year:
                                                                
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips            $________________
                                                                                              33,274.00                   bonuses, tips           $________________
            (January 1 to December 31, _________)
                                       2017                        Operating a business                                 Operating a business
                                              YYYY



            For the calendar year before that:                  
                                                                ✔   Wages, commissions,                                  Wages, commissions,
                                                                    bonuses, tips                                         bonuses, tips
                                                                                             $________________
                                                                                              5,581.00                                            $________________
            (January 1 to December 31, _________)
                                       2016                        Operating a business                                 Operating a business
                                              YYYY



 5. Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

     
     ✔     No
          Yes. Fill in the details.

                                                     Debtor 1                                                          Debtor 2

                                                     Sources of income             Gross income from                   Sources of income          Gross income from
                                                     Describe below.               each source                         Describe below.            each source
                                                                                   (before deductions and                                         (before deductions and
                                                                                   exclusions)                                                    exclusions)


                                        _________________________                  $________________          _________________________           $________________
 From January 1 of current
 year until the date you                _________________________                  $________________          _________________________           $________________
 filed for bankruptcy:
                                        _________________________                  $_________________         _________________________           $_________________


                                         _________________________ $________________                           _________________________          $________________
For last calendar year:
                                         _________________________ $________________                           _________________________          $________________
(January 1 to
                                         _________________________ $_________________                          _________________________          $_________________
December 31, _________)


For the calendar year                    _________________________ $________________                           _________________________          $________________
before that:                             _________________________ $________________                           _________________________          $________________
(January 1 to                            _________________________ $_________________                          _________________________          $_________________
December 31, _________)




Official Form 107                                Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 2


              Case 18-44102-MJH                         Doc 9           Filed 12/18/18              Ent. 12/18/18 14:27:50                    Pg. 34 of 53
Debtor 1       Diana Rae McKnight
               _______________________________________________________                                                    18-44102
                                                                                                   Case number (if known)_____________________________________
               First Name       Middle Name           Last Name




 Pa rt 3 :    List Ce rt a in Pa ym e nt s Y ou M a de Be fore Y ou File d for Ba nk rupt c y



 6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
               “incurred by an individual primarily for a personal, family, or household purpose.”
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?

                   No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and
                    the total amount you paid that creditor. Do not include payments for domestic support obligations, such as
                         child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.
               * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

     
     ✔     Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
               During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

               
               ✔    No. Go to line 7.

                   Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
                         creditor. Do not include payments for domestic support obligations, such as child support and
                         alimony. Also, do not include payments to an attorney for this bankruptcy case.


                                                                       Dates of     Total amount paid        Amount you still owe       Was this payment for…
                                                                       payment


                      ____________________________________             _________    $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________             _________
                      Number    Street                                                                                                   Credit card
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________
                      City                    State       ZIP Code
                                                                                                                                         Other ______________


                      ____________________________________             _________    $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________             _________                                                         Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other ______________
                      City                    State       ZIP Code




                      ____________________________________             _________    $_________________ $__________________               Mortgage
                      Creditor’s Name
                                                                                                                                         Car
                      ____________________________________             _________                                                         Credit card
                      Number    Street
                                                                                                                                         Loan repayment
                      ____________________________________             _________
                                                                                                                                         Suppliers or vendors
                      ____________________________________                                                                               Other _______________
                      City                    State       ZIP Code




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                             page 3


             Case 18-44102-MJH                        Doc 9          Filed 12/18/18        Ent. 12/18/18 14:27:50                Pg. 35 of 53
Debtor 1            Diana Rae McKnight
                   _______________________________________________________                            Case number (if known)18-44102
                                                                                                                            _____________________________________
                   First Name      Middle Name           Last Name




 7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
     corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
     agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
     such as child support and alimony.

     
     ✔     No
          Yes. List all payments to an insider.
                                                                        Dates of      Total amount      Amount you still   Reason for this payment
                                                                        payment       paid              owe


            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



            ____________________________________________              _________      $____________ $____________
            Insider’s Name

            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code


 8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
     an insider?
     Include payments on debts guaranteed or cosigned by an insider.

     
     ✔     No
          Yes. List all payments that benefited an insider.
                                                                       Dates of        Total amount     Amount you still   Reason for this payment
                                                                       payment         paid             owe
                                                                                                                           Include creditor’s name

            ____________________________________________              _________      $____________ $____________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code



                                                                                     $____________ $____________
            ____________________________________________              _________
            Insider’s Name


            ____________________________________________              _________
            Number        Street


            ____________________________________________              _________

            ____________________________________________
            City                                 State   ZIP Code




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                              page 4


             Case 18-44102-MJH                           Doc 9       Filed 12/18/18          Ent. 12/18/18 14:27:50                  Pg. 36 of 53
Debtor 1          Diana  Rae McKnight
                  _______________________________________________________                                                               18-44102
                                                                                                                 Case number (if known)_____________________________________
                  First Name            Middle Name            Last Name




  Pa rt 4 :       I de nt ify Le ga l Ac t ions, Re posse ssions, a nd Fore c losure s

 9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
     and contract disputes.

          No
     
     ✔     Yes. Fill in the details.
                                                                      Nature of the case                   Court or agency                                 Status of the case
                  Wilmington Trust Company as                       Judgment of Foreclosure -
    Case title:                                                     Judgment entered but no                Clark County Superior Court
                  Trustee for Mastr Alternative Loan                                                      ________________________________________
                  Trust vs Steven Beresford and                     apparent Sheriff sale yet; Date       Court Name
                                                                                                                                                             Pending

                  Diana Beresford                                   filed: 09/17/2017                                                                        On appeal
                                                                                                          601 W Evergreen Blvd
                                                                                                          ________________________________________
                                                                                                          Number    Street                                
                                                                                                                                                          ✔   Concluded

                                                                                                           Vancouver         WA     98660
                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number 17-2-01522-2
                ________________________


                                                                                                          ________________________________________           Pending
                                                                                                          Court Name
    Case title:
                                                                                                                                                             On appeal
                                                                                                          ________________________________________
                                                                                                          Number    Street                                   Concluded


                                                                                                          ________________________________________
                                                                                                          City                   State   ZIP Code
    Case number ________________________

 10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
     Check all that apply and fill in the details below.

     
     ✔     No. Go to line 11.
          Yes. Fill in the information below.

                                                                                Describe the property                                     Date          Value of the property



                   _________________________________________                                                                              __________     $______________
                   Creditor’s Name


                   _________________________________________
                   Number      Street                                           Explain what happened

                                                                                    Property was repossessed.
                   _________________________________________
                                                                                    Property was foreclosed.
                                                                                    Property was garnished.
                   _________________________________________
                   City                               State   ZIP Code              Property was attached, seized, or levied.

                                                                                Describe the property                                     Date           Value of the property



                                                                                                                                         __________      $______________
                   _________________________________________
                   Creditor’s Name


                   _________________________________________
                   Number      Street
                                                                                Explain what happened

                   _________________________________________                        Property was repossessed.
                                                                                    Property was foreclosed.
                   _________________________________________                        Property was garnished.
                   City                               State   ZIP Code
                                                                                    Property was attached, seized, or levied.



Official Form 107                                        Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 5


              Case 18-44102-MJH                               Doc 9          Filed 12/18/18             Ent. 12/18/18 14:27:50                   Pg. 37 of 53
Debtor 1          Diana Rae McKnight
                  _______________________________________________________                                                       18-44102
                                                                                                         Case number (if known)_____________________________________
                  First Name     Middle Name             Last Name




 11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
     accounts or refuse to make a payment because you owed a debt?
     
     ✔     No
          Yes. Fill in the details.

                                                                 Describe the action the creditor took                         Date action       Amount
                                                                                                                               was taken
           ______________________________________
           Creditor’s Name


           ______________________________________                                                                             ____________ $________________
           Number     Street


           ______________________________________

           ______________________________________
           City                           State   ZIP Code       Last 4 digits of account number: XXXX–


 12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
     creditors, a court-appointed receiver, a custodian, or another official?
     
     ✔     No
          Yes

 Pa rt 5 :        List Ce rt a in Gift s a nd Cont ribut ions


 13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

     
     ✔     No
          Yes. Fill in the details for each gift.


             Gifts with a total value of more than $600          Describe the gifts                                            Dates you gave        Value
             per person                                                                                                        the gifts



           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________

           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you    ______________


           Gifts with a total value of more than $600            Describe the gifts                                            Dates you gave      Value
           per person                                                                                                          the gifts


           ______________________________________                                                                              _________           $_____________
           Person to Whom You Gave the Gift


           ______________________________________                                                                              _________           $_____________


           ______________________________________
           Number     Street


           ______________________________________
           City                           State   ZIP Code


           Person’s relationship to you ______________


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 6


              Case 18-44102-MJH                          Doc 9         Filed 12/18/18             Ent. 12/18/18 14:27:50               Pg. 38 of 53
Debtor 1            Diana Rae McKnight
                    _______________________________________________________                                                            18-44102
                                                                                                                Case number (if known)_____________________________________
                    First Name     Middle Name              Last Name




 14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

     
     ✔     No
          Yes. Fill in the details for each gift or contribution.

             Gifts or contributions to charities                   Describe what you contributed                                         Date you            Value
             that total more than $600                                                                                                   contributed



           _____________________________________                                                                                         _________           $_____________
           Charity’s Name


           _____________________________________                                                                                         _________           $_____________


           _____________________________________
           Number       Street



           _____________________________________
           City            State    ZIP Code




 Pa rt 6 :          List Ce rt a in Losse s


 15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
     or gambling?

     ✔    No
          Yes. Fill in the details.

             Describe the property you lost and how                 Describe any insurance coverage for the loss                         Date of your loss   Value of property
             the loss occurred                                                                                                                               lost
                                                                    Include the amount that insurance has paid. List pending insurance
                                                                    claims on line 33 of Schedule A/B: Property.


                                                                                                                                         _________           $_____________




 Pa rt 7 :        List Ce rt a in Pa ym e nt s or T ra nsfe rs

 16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
     consulted about seeking bankruptcy or preparing a bankruptcy petition?
     Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

          No
     
     ✔     Yes. Fill in the details.

                                                                    Description and value of any property transferred                    Date payment or   Amount of payment
                                                                                                                                         transfer was made
             ___________________________________
             Robert Russell Law Office
             Person Who Was Paid
                                                                   10/18/18 - $335 (Filing Fee)
                                                                   10/18/18 - $115 (Attorney Fee)
             ___________________________________
             516 SE Chkalov Drive #49
             Number       Street                                   11/06/18 - $1,000 (Attorney Fee)                                      _________
                                                                                                                                         10/2018             $_____________
                                                                                                                                                               1,500.00
                                                                   11/07/18 - $50 (Attorney Fee)
             ___________________________________
                                                                                                                                         _________           $_____________
             ___________________________________
             Vancouver           WA      98683
             City                       State    ZIP Code


             ____________________________________________
             Email or website address

             ___________________________________
             Person Who Made the Payment, if Not You



Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                              page 7


               Case 18-44102-MJH                            Doc 9         Filed 12/18/18               Ent. 12/18/18 14:27:50                   Pg. 39 of 53
Debtor 1           Diana Rae McKnight
                   _______________________________________________________                                                           18-44102
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Description and value of any property transferred                Date payment or       Amount of
                                                                                                                                     transfer was made     payment

            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $_____________
            ____________________________________
            Number       Street

                                                                                                                                     _________             $_____________
            ____________________________________

            ____________________________________
            City                        State    ZIP Code



            ________________________________________________
            Email or website address

            ___________________________________
            Person Who Made the Payment, if Not You


 17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
     promised to help you deal with your creditors or to make payments to your creditors?
     Do not include any payment or transfer that you listed on line 16.

     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of any property transferred                Date payment or   Amount of payment
                                                                                                                                     transfer was made
            ____________________________________
            Person Who Was Paid
                                                                                                                                     _________             $____________
            ____________________________________
            Number        Street

            ____________________________________                                                                                     _________             $____________

            ____________________________________
            City                        State    ZIP Code

 18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
     transferred in the ordinary course of your business or financial affairs?
     Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
     Do not include gifts and transfers that you have already listed on this statement.
     
     ✔     No
          Yes. Fill in the details.

                                                                    Description and value of property         Describe any property or payments received      Date transfer
                                                                    transferred                               or debts paid in exchange                       was made
            ___________________________________
            Person Who Received Transfer

            ___________________________________                                                                                                               _________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code


            Person’s relationship to you _____________

            ___________________________________
            Person Who Received Transfer
                                                                                                                                                              _________
            ___________________________________
            Number       Street

            ___________________________________

            ___________________________________
            City                        State    ZIP Code

            Person’s relationship to you _____________

Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 8


              Case 18-44102-MJH                             Doc 9         Filed 12/18/18                Ent. 12/18/18 14:27:50              Pg. 40 of 53
Debtor 1           Diana Rae McKnight
                   _______________________________________________________                                                          18-44102
                                                                                                             Case number (if known)_____________________________________
                   First Name     Middle Name              Last Name




 19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
     are a beneficiary? (These are often called asset-protection devices.)

     
     ✔     No
          Yes. Fill in the details.

                                                                   Description and value of the property transferred                                       Date transfer
                                                                                                                                                           was made


                                                                                                                                                           _________
           Name of trust




 Pa rt 8 : List Ce rt a in Fina nc ia l Ac c ount s, I nst rum e nt s, Sa fe De posit Box e s, a nd St ora ge U nit s

 20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
     closed, sold, moved, or transferred?
     Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
     brokerage houses, pension funds, cooperatives, associations, and other financial institutions.
     
     ✔     No
          Yes. Fill in the details.

                                                                   Last 4 digits of account number      Type of account or       Date account was       Last balance before
                                                                                                        instrument               closed, sold, moved,   closing or transfer
                                                                                                                                 or transferred
            ____________________________________
            Name of Financial Institution
                                                                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            ____________________________________
            Number       Street
                                                                                                         Savings
            ____________________________________                                                         Money market
            ____________________________________
                                                                                                         Brokerage
            City                       State    ZIP Code                                                 Other__________

            ____________________________________                       XXXX–___ ___ ___ ___              Checking               _________              $___________
            Name of Financial Institution
                                                                                                         Savings
            ____________________________________
            Number       Street                                                                          Money market
            ____________________________________                                                         Brokerage
            ____________________________________                                                         Other__________
            City                       State    ZIP Code


 21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
     securities, cash, or other valuables?
     
     ✔  No
          Yes. Fill in the details.
                                                                       Who else had access to it?                  Describe the contents                       Do you still
                                                                                                                                                               have it?

                                                                                                                                                                  No
            ____________________________________                  _______________________________________
            Name of Financial Institution                         Name
                                                                                                                                                                  Yes

            ____________________________________                  _______________________________________
            Number       Street                                   Number      Street
            ____________________________________
                                                                  _______________________________________
                                                                  City          State      ZIP Code
            ____________________________________
            City                       State    ZIP Code



Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 9


              Case 18-44102-MJH                        Doc 9                Filed 12/18/18            Ent. 12/18/18 14:27:50               Pg. 41 of 53
Debtor 1            Diana Rae McKnight
                    _______________________________________________________                                                                     18-44102
                                                                                                                         Case number (if known)_____________________________________
                    First Name      Middle Name               Last Name




22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
    
    ✔      No
          Yes. Fill in the details.
                                                                     Who else has or had access to it?                        Describe the contents                       Do you still
                                                                                                                                                                          have it?


             ___________________________________                     _______________________________________                                                                No
             Name of Storage Facility                                Name                                                                                                   Yes
             ___________________________________                     _______________________________________
             Number       Street                                     Number    Street

             ___________________________________                     _______________________________________
                                                                     City State ZIP Code
             ___________________________________
             City                        State     ZIP Code



 Pa rt 9 :            I de nt ify Prope rt y Y ou H old or Cont rol for Som e one Else

 23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
     or hold in trust for someone.
     
     ✔   No
          Yes. Fill in the details.
                                                                    Where is the property?                                    Describe the property                    Value


             ___________________________________
             Owner’s Name                                                                                                                                              $__________
                                                                   _________________________________________
             ___________________________________                   Number     Street
             Number        Street
                                                                   _________________________________________
             ___________________________________
                                                                   _________________________________________
             ___________________________________                   City                             State     ZIP Code
             City                        State     ZIP Code


 Pa rt 1 0 :          Give De t a ils About Environm e nt a l I nform a t ion

 For the purpose of Part 10, the following definitions apply:
  Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
     hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
     including statutes or regulations controlling the cleanup of these substances, wastes, or material.

  Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize
     it or used to own, operate, or utilize it, including disposal sites.

  Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
     substance, hazardous material, pollutant, contaminant, or similar term.

 Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

 24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?


     
     ✔     No
          Yes. Fill in the details.
                                                                     Governmental unit                            Environmental law, if you know it                   Date of notice



            ____________________________________                    _______________________________                                                                    _________
            Name of site                                            Governmental unit

            ____________________________________                    _______________________________
            Number       Street                                     Number    Street

                                                                    _______________________________
            ____________________________________                    City                   State   ZIP Code


            ____________________________________
            City                        State     ZIP Code



Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                               page 10


                Case 18-44102-MJH                            Doc 9           Filed 12/18/18                   Ent. 12/18/18 14:27:50                   Pg. 42 of 53
Debtor 1           Diana Rae McKnight
                   _______________________________________________________                                                                     18-44102
                                                                                                                        Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




 25. Have you notified any governmental unit of any release of hazardous material?

     
     ✔     No
          Yes. Fill in the details.
                                                                   Governmental unit                               Environmental law, if you know it                     Date of notice


            ____________________________________                  _______________________________
            Name of site                                          Governmental unit
                                                                                                                                                                          _________

            ____________________________________                  _______________________________
            Number        Street                                  Number     Street


            ____________________________________                  _______________________________
                                                                  City                  State    ZIP Code
            ____________________________________
            City                        State    ZIP Code


 26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

     
     ✔     No
          Yes. Fill in the details.
                                                                                                                                                                          Status of the
                                                                    Court or agency                                     Nature of the case
                                                                                                                                                                          case

           Case title
                                                                    ________________________________                                                                         Pending
                                                                    Court Name
                                                                                                                                                                             On appeal
                                                                    ________________________________
                                                                    Number     Street                                                                                        Concluded


           Case number                                              ________________________________
                                                                    City                        State   ZIP Code



 Pa rt 1 1 :         Give De t a ils About Y our Busine ss or Conne c t ions t o Any Busine ss

 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
               A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
           
           ✔    A member of a limited liability company (LLC) or limited liability partnership (LLP)
               A partner in a partnership
               An officer, director, or managing executive of a corporation
               An owner of at least 5% of the voting or equity securities of a corporation

          No. None of the above applies. Go to Part 12.
     
     ✔     Yes. Check all that apply above and fill in the details below for each business.
                                                                    Describe the nature of the business                                Employer Identification number
            Twin Star, LLC
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name                                          Art

            19300 NE 6th Street
            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
            Camas               WA     98607                       None                                                                From 11/01/2016
                                                                                                                                             _______                To 05/01/2017
                                                                                                                                                                       _______
            ____________________________________
            City                        State    ZIP Code

                                                                    Describe the nature of the business                                Employer Identification number
            ____________________________________                                                                                       Do not include Social Security number or ITIN.
            Business Name


            ____________________________________                                                                                       EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            Number        Street
                                                                                                                                       Dates business existed
            ____________________________________
                                                                    Name of accountant or bookkeeper
                                                                                                                                       From     _______                 To _______
            ____________________________________
            City                        State    ZIP Code


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                     page 11


               Case 18-44102-MJH                        Doc 9              Filed 12/18/18                    Ent. 12/18/18 14:27:50                    Pg. 43 of 53
Debtor 1           Diana Rae McKnight
                   _______________________________________________________                                                          18-44102
                                                                                                              Case number (if known)_____________________________________
                   First Name      Middle Name              Last Name




                                                                    Describe the nature of the business                     Employer Identification number
                                                                                                                            Do not include Social Security number or ITIN.
            ____________________________________
            Business Name
                                                                                                                            EIN: ___ ___ – ___ ___ ___ ___ ___ ___ ___
            ____________________________________
            Number        Street
                                                                                                                            Dates business existed

            ____________________________________

                                                                    Name of accountant or bookkeeper
            ____________________________________                                                                            From     _______         To _______
            City                        State    ZIP Code




 28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
     institutions, creditors, or other parties.

     
     ✔     No
          Yes. Fill in the details below.

                                                                    Date issued



            ____________________________________                    ____________
            Name                                                    MM / DD / YYYY


            ____________________________________
            Number        Street


            ____________________________________

            ____________________________________
            City                        State    ZIP Code




 Pa rt 1 2 :       Sign Be low


      I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the
      answers are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud
      in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.




           /s/ Diana Rae McKnight
            ______________________________________________                        _____________________________
            Signature of Debtor 1                                                    Signature of Debtor 2


            Date ________________
                  12/18/2018                                                         Date _________________

      Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

      
      ✔      No
            Yes


      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      
      ✔     No
           Yes. Name of person_____________________________________________________________. Attach the Bankruptcy Petition Preparer’s Notice,
                                                                                               Declaration, and Signature (Official Form 119).




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                         page 12


               Case 18-44102-MJH                        Doc 9             Filed 12/18/18            Ent. 12/18/18 14:27:50                  Pg. 44 of 53
Fill in this information to identify your case:

                  Diana Rae McKnight
Debtor 1          __________________________________________________________________
                    First Name               Middle Name               Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name               Last Name


                                        ______________________
United States Bankruptcy Court for the:Western District of Washington District of __________
                                                                                   (State)
Case number         ___________________________________________
                     18-44102                                                                                                                  Check if this is an
 (If known)                                                                                                                                       amended filing



  Official Form 108
  St a t e m e nt of I nt e nt ion for I ndividua ls Filing U nde r Cha pt e r 7                                                                            12/15

  If you are an individual filing under chapter 7, you must fill out this form if:
   creditors have claims secured by your property, or
   you have leased personal property and the lease has not expired.
  You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
  whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list on the form.
  If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
  Both debtors must sign and date the form.
  Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
  write your name and case number (if known).

    Pa rt 1 :        List Y our Cre dit ors Who H a ve Se c ure d Cla im s

    1. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D), fill in the
       information below.

           Identify the creditor and the property that is collateral                    What do you intend to do with the property that   Did you claim the property
                                                                                        secures a debt?                                   as exempt on Schedule C?

          Creditor’s                                                                    Surrender the property.                           No
          name:           Mr. Cooper
                                                                                        Retain the property and redeem it.                Yes
         Description of          19300 NE 6th Street
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


         Creditor’s        Bank of America                                              Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.               
                                                                                                                                          ✔ Yes
         Description of          19300 NE 6th Street
         property                                                                      
                                                                                       ✔ Retain the property and enter into a

         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________

         Creditor’s                                                                     Surrender the property.                           No
         name:
                                                                                        Retain the property and redeem it.                Yes
         Description of
         property                                                                       Retain the property and enter into a
         securing debt:                                                                      Reaffirmation Agreement.
                                                                                        Retain the property and [explain]:
                                                                                             ______________________________________


  Official Form 108               Statement of Intention for Individuals Filing Under Chapter 7                                                 page 1
                   Case 18-44102-MJH    Doc 9 Filed 12/18/18 Ent. 12/18/18 14:27:50                                                   Pg. 45 of 53
Debtor
                     Diana Rae McKnight
                    ______________________________________________________                                          18-44102
                                                                                                Case number (If known)_____________________________________




 Pa rt 2 :          List Y our Une x pire d Pe rsona l Prope rty Le a se s

 For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
 fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not yet
 ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

         Describe your unexpired personal property leases                                                               Will the lease be assumed?

         Lessor’s name:                                                                                                 No
                                                                                                                        Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                 No
                                                                                                                        Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                 No
         Description of leased                                                                                          Yes
         property:


         Lessor’s name:                                                                                                 No
                                                                                                                        Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                 No
                                                                                                                        Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                 No
                                                                                                                        Yes
         Description of leased
         property:


         Lessor’s name:                                                                                                 No
                                                                                                                        Yes
         Description of leased
         property:




 Pa rt 3 :          Sign Be low



    Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and any
    personal property that is subject to an unexpired lease.



  /s/ Diana Rae McKnight
         ___________________________________________             ___________________________________________
     Signature of Debtor 1                                         Signature of Debtor 2

             12/18/2018
     Date _________________                                        Date _________________
             MM /    DD   /   YYYY                                      MM /   DD /   YYYY




 Official Form 108                             Statement of Intention for Individuals Filing Under Chapter 7                             page 2
               Case 18-44102-MJH                  Doc 9       Filed 12/18/18               Ent. 12/18/18 14:27:50           Pg. 46 of 53
N ot ic e Re quire d by 1 1 U.S.C. § 3 4 2 (b) for
I ndividua ls Filing for Ba nk rupt cy (Form 2010)


                                                                Chapter 7:        Liquidation
 This notice is for you if:

     You are an individual filing for bankruptcy,
                                                                          $245     filing fee
       and                                                                 $75     administrative fee
                                                                +          $15     trustee surcharge
     Your debts are primarily consumer debts.
                                                                          $335     total fee
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                   Chapter 7 is for individuals who have financial
       primarily for a personal, family, or                     difficulty preventing them from paying their
       household purpose.”                                      debts and who are willing to allow their non-
                                                                exempt property to be used to pay their
                                                                creditors. The primary purpose of filing under
                                                                chapter 7 is to have your debts discharged. The
T he t ype s of ba nk rupt c y t ha t a re                      bankruptcy discharge relieves you after
a va ila ble t o individua ls                                   bankruptcy from having to pay many of your
                                                                pre-bankruptcy debts. Exceptions exist for
Individuals who meet the qualifications may file                particular debts, and liens on property may still
under one of four different chapters of the                     be enforced after discharge. For example, a
Bankruptcy Code:                                                creditor may have the right to foreclose a home
                                                                mortgage or repossess an automobile.
     Chapter 7 — Liquidation
                                                                However, if the court finds that you have
     Chapter 11 — Reorganization
                                                                committed certain kinds of improper conduct
                                                                described in the Bankruptcy Code, the court
     Chapter 12 — Voluntary repayment plan
                   for family farmers or                        may deny your discharge.
                   fishermen
                                                                You should know that even if you file
                                                                chapter 7 and you receive a discharge, some
     Chapter 13 — Voluntary repayment plan
                   for individuals with regular                 debts are not discharged under the law.
                   income                                       Therefore, you may still be responsible to pay:
                                                                    most taxes;
You should have an attorney review your                             most student loans;
decision to file for bankruptcy and the choice of
                                                                    domestic support and property settlement
chapter.
                                                                     obligations;




Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)          page 1



Case 18-44102-MJH               Doc 9      Filed 12/18/18           Ent. 12/18/18 14:27:50              Pg. 47 of 53
   most fines, penalties, forfeitures, and                     your income is more than the median income
    criminal restitution obligations; and                       for your state of residence and family size,
   certain debts that are not listed in your                   depending on the results of the Means Test, the
    bankruptcy papers.                                          U.S. trustee, bankruptcy administrator, or
                                                                creditors can file a motion to dismiss your case
You may also be required to pay debts arising                   under § 707(b) of the Bankruptcy Code. If a
from:                                                           motion is filed, the court will decide if your
                                                                case should be dismissed. To avoid dismissal,
   fraud or theft;
                                                                you may choose to proceed under another
   fraud or defalcation while acting in breach                 chapter of the Bankruptcy Code.
    of fiduciary capacity;
                                                                If you are an individual filing for chapter 7
   intentional injuries that you inflicted; and
                                                                bankruptcy, the trustee may sell your property
   death or personal injury caused by                          to pay your debts, subject to your right to
    operating a motor vehicle, vessel, or                       exempt the property or a portion of the
    aircraft while intoxicated from alcohol or                  proceeds from the sale of the property. The
    drugs.                                                      property, and the proceeds from property that
                                                                your bankruptcy trustee sells or liquidates that
If your debts are primarily consumer debts, the                 you are entitled to, is called exempt property.
court can dismiss your chapter 7 case if it finds               Exemptions may enable you to keep your
that you have enough income to repay                            home, a car, clothing, and household items or
creditors a certain amount. You must file                       to receive some of the proceeds if the property
Chapter 7 Statement of Your Current Monthly                     is sold.
Income (Official Form 122A–1) if you are an
individual filing for bankruptcy under                          Exemptions are not automatic. To exempt
chapter 7. This form will determine your                        property, you must list it on Schedule C: The
current monthly income and compare whether                      Property You Claim as Exempt (Official Form
your income is more than the median income                      106C). If you do not list the property, the
that applies in your state.                                     trustee may sell it and pay all of the proceeds
                                                                to your creditors.
If your income is not above the median for
your state, you will not have to complete the
other chapter 7 form, the Chapter 7 Means                       Chapter 11: Reorganization
Test Calculation (Official Form 122A–2).
                                                                         $1,167 filing fee
If your income is above the median for your                     +          $550 administrative fee
state, you must file a second form —the                                  $1,717 total fee
Chapter 7 Means Test Calculation (Official
Form 122A–2). The calculations on the form—                     Chapter 11 is often used for reorganizing a
sometimes called the Means Test—deduct                          business, but is also available to individuals.
from your income living expenses and                            The provisions of chapter 11 are too
payments on certain debts to determine any                      complicated to summarize briefly.
amount available to pay unsecured creditors. If


Notice Required by 11 U.S.C. U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)       page 2



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Re a d T he se I m port a nt Wa rnings


 Because bankruptcy can have serious long-term financial and legal consequences, including loss of
 your property, you should hire an attorney and carefully consider all of your options before you file.
 Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
 and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
 properly and protect you, your family, your home, and your possessions.
 Although the law allows you to represent yourself in bankruptcy court, you should understand that
 many people find it difficult to represent themselves successfully. The rules are technical, and a
 mistake or inaction may harm you. If you file without an attorney, you are still responsible for knowing
 and following all of the legal requirements.
 You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
 necessary documents.
 Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
 bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
 fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




Chapter 12: Repayment plan for family                           Under chapter 13, you must file with the court
            farmers or fishermen                                a plan to repay your creditors all or part of the
                                                                money that you owe them, usually using your
           $200 filing fee
                                                                future earnings. If the court approves your
+           $75 administrative fee
           $275 total fee
                                                                plan, the court will allow you to repay your
                                                                debts, as adjusted by the plan, within 3 years or
Similar to chapter 13, chapter 12 permits                       5 years, depending on your income and other
family farmers and fishermen to repay their                     factors.
debts over a period of time using future
earnings and to discharge some debts that are                   After you make all the payments under your
not paid.                                                       plan, many of your debts are discharged. The
                                                                debts that are not discharged and that you may
                                                                still be responsible to pay include:
                                                                    domestic support obligations,
Chapter 13: Repayment plan for
            individuals with regular                                most student loans,
            income                                                  certain taxes,
                                                                    debts for fraud or theft,
          $235    filing fee
                                                                    debts for fraud or defalcation while acting
+          $75    administrative fee
                                                                     in a fiduciary capacity,
          $310    total fee
                                                                    most criminal fines and restitution
Chapter 13 is for individuals who have regular                       obligations,
income and would like to pay all or part of                         certain debts that are not listed in your
their debts in installments over a period of time                    bankruptcy papers,
and to discharge some debts that are not paid.
                                                                    certain debts for acts that caused death or
You are eligible for chapter 13 only if your
                                                                     personal injury, and
debts are not more than certain dollar amounts
                                                                    certain long-term secured debts.
set forth in 11 U.S.C. § 109.


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                                                                 A married couple may file a bankruptcy case
    Wa rning: File Y our Form s on T im e                        together—called a joint case. If you file a joint
                                                                 case and each spouse lists the same mailing
    Section 521(a)(1) of the Bankruptcy Code                     address on the bankruptcy petition, the
    requires that you promptly file detailed information
                                                                 bankruptcy court generally will mail you and
    about your creditors, assets, liabilities, income,
    expenses and general financial condition. The                your spouse one copy of each notice, unless
    court may dismiss your bankruptcy case if you do             you file a statement with the court asking that
    not file this information within the deadlines set by        each spouse receive separate copies.
    the Bankruptcy Code, the Bankruptcy Rules, and
    the local rules of the court.

    For more information about the documents and                 U nde rst a nd w hic h se rvic e s you
    their deadlines, go to:                                      c ould re c e ive from c re dit
    http://www.uscourts.gov/bkforms/bankruptcy_form              c ounse ling a ge nc ie s
    s.html#procedure.
                                                                 The law generally requires that you receive a
                                                                 credit counseling briefing from an approved
                                                                 credit counseling agency. 11 U.S.C. § 109(h).
Ba nk rupt c y c rim e s ha ve se rious
                                                                 If you are filing a joint case, both spouses must
c onse que nc e s
                                                                 receive the briefing. With limited exceptions,
     If you knowingly and fraudulently conceal                  you must receive it within the 180 days before
      assets or make a false oath or statement                   you file your bankruptcy petition. This briefing
      under penalty of perjury—either orally or                  is usually conducted by telephone or on the
      in writing—in connection with a                            Internet.
      bankruptcy case, you may be fined,
      imprisoned, or both.                                       In addition, after filing a bankruptcy case, you
                                                                 generally must complete a financial
      All information you supply in connection                  management instructional course before you
      with a bankruptcy case is subject to                       can receive a discharge. If you are filing a joint
      examination by the Attorney General acting                 case, both spouses must complete the course.
      through the Office of the U.S. Trustee, the
      Office of the U.S. Attorney, and other                     You can obtain the list of agencies approved to
      offices and employees of the U.S.                          provide both the briefing and the instructional
      Department of Justice.                                     course from:
                                                                 http://justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.
M a k e sure t he c ourt ha s your                               In Alabama and North Carolina, go to:
m a iling a ddre ss                                              http://www.uscourts.gov/FederalCourts/Bankruptcy/

The bankruptcy court sends notices to the                        BankruptcyResources/ApprovedCredit

mailing address you list on Voluntary Petition                   AndDebtCounselors.aspx.

for Individuals Filing for Bankruptcy (Official
                                                                 If you do not have access to a computer, the
Form 101). To ensure that you receive
                                                                 clerk of the bankruptcy court may be able to
information about your case, Bankruptcy
                                                                 help you obtain the list.
Rule 4002 requires that you notify the court of
any changes in your address.


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     B2030 (Form 2030) (12/15)


                                      United States Bankruptcy Court
                                                            Western District of Washington
                                               __________________________________
     In re   Diana Rae McKnight

                                                                                                             Case No. _______________
                                                                                                                      18-44102



    Debtor                                                                                                            7
                                                                                                              Chapter________________

                       DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

    1. Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the
       above named debtor(s) and that compensation paid to me within one year before the filing of the
       petition in bankruptcy, or agreed to be paid to me, for services rendered or to be rendered on behalf of
       the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

✔   FLAT FEE
                                                                                                                         1,500.00
          For legal services, I have agreed to accept . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                 1,165.00
          Prior to the filing of this statement I have received. . . . . . . . . . . . . . . . . . . . . . . . $______________
                                                                                                                                   335.00
          Balance Due. . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . $______________

     RETAINER
          For legal services, I have agreed to accept a retainer of . . . . . . . . . . . . . . . . . . . . $______________

          The undersigned shall bill against the retainer at an hourly rate of . . . . . . . . . . . $______________
          [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court
          approved fees and expenses exceeding the amount of the retainer.

    2. The source of the compensation paid to me was:
                 Debtor                                 Other (specify)

    3. The source of compensation to be paid to me is:
                 Debtor                                 Other (specify)

    4.         I have not agreed to share the above-disclosed compensation with any other person unless they
         are members and associates of my law firm.

              I have agreed to share the above-disclosed compensation with a other person or persons who
    are not members or associates of my law firm. A copy of the Agreement, together with a list of the names
    of the people sharing the compensation is attached.
    5. In return of the above-disclosed fee, I have agreed to render legal service for all aspects of the
       bankruptcy case, including:
         a. Analysis of the debtor’s financial situation, and rendering advice to the debtor in determining
            whether to file a petition in bankruptcy;
         b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be
            required;
         c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any
            adjourned hearings thereof;

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     d. [Other provisions as needed]




6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:
Representation of the debtors in any dischargeability actions, judicial lien avoidances, preference recover, Objection to Exemptions, relief from stay
actions or any other adversary proceeding.




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                                           CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for
          payment to me for representation of the debtor(s) in this bankruptcy proceeding.

      12/18/2018                        /s/ Robert Russell, 19151
    _____________________              _________________________________________
    Date                                     Signature of Attorney
                                        Robert Russell Law Office
                                       _________________________________________
                                           ​Name of law firm
                                        516 SE Chkalov Drive
                                        49
                                        Vancouver, WA 98683
                                        frontdesk@rrlawgroup.com




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